Case 2:05-cr-20280-BBD Document 33 Filed 08/24/05 Page 1 of 2 Page|D 36

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE FR.ED BY ------ D‘c‘

WESTERN DIVISION
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UNIT D STATES OF AMERICA CLERK`U`SP pm?§?olcdgm
V. Cr. NO. 05'20280-03-]) W.,i./ if '.-1\,`1'|,

KIMBERLY F . ENGRAM

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT
The defendant has this day notified the Coult that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while
attempting to obtain private counsel.
IT IS THEREFORE ORDERED that the time period of Ob'l£'_-MQ§ through

m iO'l 105 be excluded from the time limits imposed by the Speedy Trial Act for trial

of this case, while the defendant is attempting to obtain private counsel.

ARRAIGNMENT ls RESET To WEDNESDAY, Oq/O‘l[@ at 9=30 a.m.

BEFORE MAGISTRATE JUDGE \)ESCUUO

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UNITED STATES MAGISTRATE JUDGE

DATE: 05/21}{05

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This document entered on the docket she '
with Rule 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 33 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

